    Case 2:10-md-02179-CJB-DPC Document 3058-2 Filed 06/27/11 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater              §
Horizon” in the Gulf of Mexico on April 20,             §    MDL No. 2179
2010.                                                   §    SECTION “J”
                                                        §
                                                        §    JUDGE BARBIER
This Document Relates to:                               §
                                                        §    MAGISTRATE SHUSHAN
10-4239                                                 §
10-4240                                                 §
10-4241                                                 §


MEMORANDUM IN SUPPORT OF EX PARTE (UNOPPOSED) MOTION FOR LEAVE
 TO FILE SUR-REPLY IN OPPOSITION TO REPLY IN SUPPORT OF MOTION OF
  DEFENDANT ANADARKO PETROLEUM CORPORATION TO DISMISS THE
     COMPLAINTS OF THE MEXICAN STATES [“PLEADING BUNDLE C”]

       COME NOW, Plaintiffs, the State of Tamaulipas, the State of Veracruz, and the State of

Quintana Roo (“Mexican States”), and respectfully submit this Memorandum in Support of Ex

Parte (Unopposed) Motion for Leave to File Sur-Reply in Opposition to Reply in Support of

Motion of Defendants Anadarko Petroleum Corporation to Dismiss the Complaints of The

Mexican States (“Pleading Bundle “C”) and in support thereof, would respectfully show as

follows:


       MAY IT PLEASE THE COURT:


       1.      The filing of a sur-reply to Anadarko’s Response is unopposed by Anadarko. On

April 29, 2011, Anadarko and Plaintiffs, the Mexican States, filed a joint stipulation that not only

extended Anadarko’s deadline to file a Response, but also stipulated that Anadarko would not

oppose the filing of a sur-reply by these Plaintiffs.




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   Case 2:10-md-02179-CJB-DPC Document 3058-2 Filed 06/27/11 Page 2 of 3




       2.      In its Reply to Plaintiffs’ Response, Anadarko Petroleum Corporation expanded

upon the issues and arguments previously raised in its Original Memorandum in Support of

Motion to Dismiss (Rec. Doc. 1426). Plaintiffs seek the opportunity to address these more fully

and to direct the Court to important points that Plaintiffs believe would assist the Court in

assessing the various pending Motions to Dismiss in Pleading Bundle “C.” By way of example,

with respect to Anadarko’s arguments based on the absence of presentation under OPA,

Plaintiffs note that their Sur-Reply demonstrates they have recently made their OPA

presentations to the Gulf Coast Claims Fund (without waiver of their positions that such

presentations are not jurisdictional requirements under OPA). Moreover, in their proposed Sur-

Reply, Plaintiffs have addressed areas of Mexican Constitutional law regarding State autonomy

and the affirmation of the rights of each of the Governors of the Plaintiff States to protect the

natural resources and other proprietary interests of their States by filing lawsuits such as those at

bar. Plaintiffs would further address issues raised by Anadarko regarding their authorization to

bring these suits under International Treaties.


       3.      In the interests of brevity and judicial economy, in the proposed Sur-Reply,

Plaintiffs have endeavored to avoid where possible any duplication of the arguments and

authorities previously presented in their Consolidated Memorandum In Response And

Opposition By Plaintiffs’ State Of Veracruz, State Of Tamaulipas, And State Of Quintana Roo

To Motion Of Defendants Anadarko Petroleum Corporation And Anadarko E &P Company LP

To Dismiss The First Amended Complaint Of The State Of Tamaulipas, Republic Of Mexico

Pursuant To FED. R. CIV. P. 12(B) (6) (Doc.1820) filed on April 26, 2011.




                                                                                                   2
   Case 2:10-md-02179-CJB-DPC Document 3058-2 Filed 06/27/11 Page 3 of 3




       4.      Plaintiffs further respectfully submit that equitable considerations favor granting

the requested leave inasmuch as this Honorable Court has granted other Plaintiffs and

Defendants in MDL-2179 to file such Sur-Reply’s to different Motions and Responses.


       WHEREFORE, Plaintiffs pray that this Honorable Court grant the requested leave to

file the attached Sur-Reply.


                                             Dated: June 27, 2011

                                             Respectfully submitted,


                                             SERNA & ASSOCIATES PLLC


                                             /s/ Enrique G. Serna
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                                CERTIFICATE OF SERVICE

        I hereby Certify that the above and foregoing pleading, MEMORANDUM IN
SUPPORT OF EX PARTE (UNOPPOSED) MOTION FOR LEAVE TO FILE SUR-
REPLY IN OPPOSITION TO REPLY IN SUPPORT OF MOTION OF DEFENDANT
ANADARKO PETROLEUM CORPORATION TO DISMISS THE COMPLAINTS OF
THE MEXICAN STATES [“PLEADING BUNDLE C”] has been served on All Counsel by
electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial Order
No.12, and that the foregoing was electronically filed by using the CM/ECF System which will
send a notice of electronic filing in accordance with the procedures established in MDL 2179,
this the 27th day of June, 2011.


                                                    /s/ Enrique G. Serna

                                                    Enrique G. Serna



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